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                                                      Attorney for Plaintiff Jason Williams




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                                  Local Civil Rule 83.1(d) Counsel for
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Counsel for Defendant AT&T Mobility, LLC



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                                                       Local Civil Rule 83.1(d) Counsel for
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